Case 1:23-cv-03253-PGG Document 7 Filed 05/22/23 Page 1 of 7
Case 1:23-cv-03253-PGG Document 7 Filed 05/22/23 Page 2 of 7
Case 1:23-cv-03253-PGG Document 7 Filed 05/22/23 Page 3 of 7
Case 1:23-cv-03253-PGG Document 7 Filed 05/22/23 Page 4 of 7
Case 1:23-cv-03253-PGG Document 7 Filed 05/22/23 Page 5 of 7
5/22/23, 11:23 AM       Case 1:23-cv-03253-PGG Document
                                                 USPS.com®7   Filed
                                                          - USPS     05/22/23
                                                                 Tracking® Results Page 6 of 7




   USPS Tracking
                                            ®                                                          FAQs 




                                                                                                    Remove 
   Tracking Number:

   70153010000025871486
         Copy            Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was picked up at a postal facility at 5:01 am on May 1, 2023 in WASHINGTON, DC 20530.



         Get More Out of USPS Tracking:




                                                                                                            Feedback
              USPS Tracking Plus®


          Delivered
          Delivered, Individual Picked Up at Postal Facility
          WASHINGTON, DC 20530
          May 1, 2023, 5:01 am


          Available for Pickup
          GOVERNMENT MAILS ANNEX
          3300 V ST
          WASHINGTON DC 20018-1528
          April 29, 2023, 10:49 am


          Available for Pickup
          GOVERNMENT MAILS ANNEX
          3300 V ST
          WASHINGTON DC 20018-1528
          April 29, 2023, 10:43 am


          Arrived at Post Office
          WASHINGTON, DC 20018
          April 29, 2023, 8:09 am


          In Transit to Next Facility

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70153010000025871486                                    1/2
5/22/23, 11:23 AM       Case 1:23-cv-03253-PGG Document
                                                 USPS.com®7   Filed
                                                          - USPS     05/22/23
                                                                 Tracking® Results Page 7 of 7

          April 28, 2023


          Arrived at USPS Regional Destination Facility
          WASHINGTON DC DISTRIBUTION CENTER
          April 25, 2023, 12:05 pm


          USPS in possession of item
          NEW YORK, NY 10014
          April 20, 2023, 3:27 pm


          Hide Tracking History




                                                                                                 
       Text & Email Updates


                                                                                                 
       USPS Tracking Plus®


                                                                                                 
       Product Information

                                                               See Less 

   Track Another Package


     Enter tracking or barcode numbers




                                                    Need More Help?
                                  Contact USPS Tracking support for further assistance.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70153010000025871486                       2/2
